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                                   UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA


    MEHULDEEP SINGH MANN,

                     Plaintiff,

            v.
                                                                       No. 22-cv-366 (FYP)
    UNITED STATES CITIZENSHIP AND
    IMMIGRATION SERVICES, et al.,

                      Defendants.


                           STANDING ORDER GOVERNING CIVIL CASES
                               BEFORE JUDGE FLORENCE Y. PAN

           This Standing Order applies to all cases assigned to the Civil Calendar of Judge Florence

Y. Pan. It is the responsibility of the parties, counsel and the Court to “secure the just, speedy,

and inexpensive determination of every action and proceeding” in federal court. See Fed. R. Civ.

P. 1. To ensure that this case is resolved fairly and without undue cost or delay, it is

           ORDERED that all counsel and pro se litigants1 must be familiar with both the Federal

Rules of Civil Procedure and the Local Civil Rules of the United States District Court for the

District of Columbia;2 and it is further

           ORDERED that all counsel must comply with this Standing Order, including the

attached Appendix. The Court will hold the parties and counsel responsible for following these

directives; failure to conform to this Order may, when appropriate, result in the imposition of

sanctions.

                                                                 ________________________
                                                                 FLORENCE Y. PAN
                                                                 United States District Judge

1
    Assistance for pro se litigants is available at https://www.dcd.uscourts.gov/pro-se-help.
2
    The Local Civil Rules are available at http://www.dcd.uscourts.gov/court-info/local-rules-and-orders/local-rules.
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                          APPENDIX TO STANDARD ORDER


1.   COMMUNICATIONS WITH THE COURT

     (a)    Form. Communications with the Court should be in writing and only by written
            motion, opposition, and reply—not by letter or email. Ex parte communication
            with Judge Pan (either directly or through her law clerks) is prohibited. The
            parties should endeavor to keep communications with Chambers to a minimum.
            If the parties need to contact Chambers, it must be done jointly pursuant to a
            conference call arranged by the parties.

     (b)    Status or Scheduling Inquiries. Oral inquiries concerning the status or scheduling
            of any pending matter are disfavored. If counsel nevertheless needs to make such
            an oral inquiry, it shall be directed to the Courtroom Deputy, Ms. Alexa Whitney,
            (202) 354-3165. If Ms. Whitney is unavailable, the inquiry shall be made to her
            designated substitute in the Clerk’s Office. Counsel shall follow Ms. Whitney’s
            (or her substitute’s) instructions. In an actual emergency, parties may contact
            Chambers at (202) 354-3350.

     (c)    Assistance with CM/ECF. Chambers cannot assist with questions about
            CM/ECF. Such inquiries should be made to the CM/ECF Help Line at (202)
            354-3190.

2.   HEARINGS

     (a)    Hearings and Conferences. All courtroom proceedings ordinarily will happen in
            Courtroom 12 of the E. Barrett Prettyman United States Courthouse, 333
            Constitution Ave., NW, Washington, DC 20001.

     (b)    Rescheduling Hearings.

            i)      Requests to reschedule hearings are discouraged. Please see ¶ 8(i) of this
                    Standing Order for instructions on filing motions to reschedule hearings.

            ii)     If the Court is closed or experiences a delayed opening, the Courtroom
                    Deputy will reschedule any hearings as necessary.

     (c)    Appearances at Hearings. Principal trial counsel must appear at all hearings
            unless excused by the Court in advance.

3.   CONTACT INFORMATION

     All counsel shall ensure that their phone number, current mailing address, and email
     address are correctly listed on the Court’s docket. Pro se parties shall ensure that their
     phone number, current mailing address, and email address are correctly listed on the
     Court’s docket. Any counsel or pro se party whose contact information changes while
     this case is pending should immediately file a notice with their updated information. If


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     the Court is unable to contact counsel or a pro se party due to a failure to comply with
     this requirement, the Court may dismiss the action for failure to prosecute or take other
     appropriate action.


4.   SERVICE OF COMPLAINT AND STANDING ORDER

     (a)    Service. The plaintiff(s) must promptly serve the complaint on the defendant(s),
            in accordance with Federal Rule of Civil Procedure 4; file proof of service, in
            accordance with Local Civil Rule 5.3; and ensure that all parties receive a copy of
            this Standing Order. For in forma pauperis plaintiffs, “officers of the [C]ourt”
            will ensure that service on the defendant(s) is properly effected. See 28 U.S.C.
            § 1915(d). If the plaintiff fails to effectuate service as Rule 4 prescribes, the court
            may dismiss the action.

     (b)    Removed Action. A defendant removing an action to this Court must refile as a
            supplement to the petition any answer and must promptly ensure that all parties
            receive a copy of this Standing Order. Any pending motion at the time of
            removal must be refiled in this Court by the party seeking relief for the motion to
            be considered. See Fed. R. Civ. P. 81(c)(2). Counsel for the plaintiff shall
            promptly enter her appearance before this Court.

     (c)    Disclosure Certificate. To facilitate the Court’s determination of the need for
            recusal, in all civil or agency actions where a corporation is a party or intervenor,
            counsel of record for that party or intervenor shall file, in accordance with Federal
            Rule of Civil Procedure 7.1 and Local Civil Rules 7.1 and 26.1, a certificate
            listing for that party or intervenor any parent corporation, subsidiary or affiliate,
            which to the knowledge of counsel has any outstanding securities in the hands of
            the public, or any publicly held corporation owning 10% or more of its stock.
            Such certificate shall be filed at the time of filing the party’s first pleading.
            Counsel shall have the continuing obligation to advise the Court of any change.

5.   FILING GUIDELINES

     (a)    Amended Pleadings. Any amended pleadings shall be accompanied by a redline
            comparison of the original and amended pleading.

     (b)    Electronic Case Filing (ECF).

            i)      General Rule. All documents in this case are to be filed electronically
                    through the Court’s CM/ECF system, except with prior leave of the Court
                    upon good cause shown, and in the case of the exceptions noted below.

            ii)     Format. All electronically filed documents are to be in Portable Data
                    Format (.pdf). In order to enable the Court’s efficient resolution of all
                    matters in this case, all filings shall be submitted in text-searchable PDF
                    files, directly converted from the word-processing format into PDF format


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                  in order to preserve searchability and readability. Exhibits that must be
                  scanned because they exist only in paper format need not be directly
                  converted from a word-processing program, but, if possible, should be
                  submitted as text-searchable files using Optical Character Recognition
                  (“OCR”) technology, available in Adobe Acrobat.

           iii)   Pro Se Parties. In a case involving a pro se party, electronic filing
                  procedures will be followed by parties represented by counsel only.
                  Absent separate order of the Court, the party appearing pro se shall
                  continue to file documents in paper form with the Clerk’s Office. Parties
                  represented by counsel must serve documents upon pro se parties in paper
                  form. A pro se party, however, may obtain a CM/ECF password from the
                  Clerk with leave of Court. To obtain leave of Court, the pro se party must
                  file a written motion entitled “Motion for CM/ECF User Name and
                  Password,” describing the party’s access to the internet, confirming the
                  capacity to file documents and receive the filings of other parties
                  electronically on a regular basis, and certifying that he or she either has
                  successfully completed the entire Clerk’s Office on-line tutorial or has
                  been permitted to file electronically in other federal courts.

           iv)    Sealed documents. Instructions for filing sealed documents in non-sealed
                  cases are available at http://dcd-
                  dev.jdc.ao.dcn/sites/dcd/files/AttySealedCivilREVMay2014.pdf.

     (c)   Courtesy Copies. The moving party shall provide Chambers, not the Clerk’s
           Office, with two printed courtesy copies, with ECF headers, of any electronic
           submission that, along with exhibits, numbers one hundred (100) pages or
           more in total length. The courtesy copies shall be delivered at the time the reply
           is filed. In the case of cross-motions, the initial moving party shall provide
           courtesy copies of the full set of briefing. Such courtesy copies shall be in
           binders, three-hole punched, with double-sided pages. Exhibits shall be tabbed.
           If hand delivered, courtesy copies should be delivered to the loading dock
           (located near the corner of Third Street and C Street, N.W.) for screening and
           should not be delivered directly to chambers. If the parties have redacted or filed
           under seal any portion of the motion papers or attendant exhibits, courtesy copies
           are to be unredacted, but the portions redacted from public filings should be
           highlighted, so that the Court will know to refrain from quoting those passages in
           opinions and orders. Pro se parties are excused from complying with the
           courtesy-copy requirement.

6.   DISCOVERY

     (a)   Discovery Material. Discovery material shall not be filed with the Court unless so
           ordered. See LCvR 5.2(a).

     (b)   Discovery Disputes. Counsel are referred to LCvR 26.2 and are expected to
           comply fully with its directives. Before bringing a discovery dispute to the


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            Court’s attention, the parties shall confer in good faith in an attempt to resolve the
            dispute informally. See Fed. R. Civ. P. 26(c), 37; LCvR 7(m). If the parties are
            unable to resolve the dispute informally, they shall jointly email the Court (at
            Pan_Chambers@dcd.uscourts.gov), providing a clear, concise description of the
            issues in dispute and proposing dates and times for a teleconference to discuss
            those issues. Counsel shall not file any discovery-related motion without a
            prior telephone conference with the Court and opposing counsel, and with
            leave of Court. Failure to comply with this requirement may result in any such
            motion being stricken.

7.   INITIAL SCHEDULING CONFERENCE AND SCHEDULING ORDER

     After an Answer is filed, for those cases covered by Federal Rule of Civil Procedure 26(f)
     and Local Civil Rule 16.3, the Court will set an Initial Scheduling Conference and order
     the parties to meet and confer to discuss the matters set forth in Local Civil Rule 16.3(c),
     and to jointly file a report addressing them. Following the Initial Scheduling Conference,
     the Court will issue a Scheduling Order governing further proceedings in the case.

8.   MOTIONS

     (a)    Motions Generally: The parties shall comply with the following instructions
            when briefing any motion. Motions filed not in compliance with this Standard
            Order may be rejected by the Court.

            i)      Length. Memoranda of points and authorities filed in support of or in
                    opposition to any motion may not, without leave of the Court, exceed
                    forty-five (45) pages, and reply memoranda may not exceed twenty-five
                    (25) pages, with margins set at one inch and with all text double-spaced
                    (excepting footnotes) and in twelve-point Times New Roman (including
                    footnotes).

            ii)     Failure to Respond. Where a party fails to file a memorandum of points
                    and authorities in opposition to a given motion, the Court may treat the
                    motion as conceded, except with respect to motions for summary
                    judgment. See LCvR 7(b); Winston & Strawn, LLP v. McLean, 843 F.3d
                    503, 505-08 (D.C. Cir. 2016) (citing Fed. R. Civ. P. 56(e)(3)). Similarly,
                    where a party fails to respond to arguments in opposition papers, the Court
                    may treat those specific arguments as conceded. See Phrasavang v.
                    Deutsche Bank, 656 F. Supp. 2d 196, 201 (D.D.C. 2009).

            iii)    Tables. Every memorandum of points and authorities that is ten pages or
                    longer in length must contain a Table of Contents and Table of
                    Authorities, regardless of whether it is filed in support of or in opposition
                    to a motion.



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          iv)    Signature. Every pleading or paper, regardless of whether it is signed by
                 an attorney or a pro se party, shall contain the name, address, telephone
                 number, and, for an attorney, bar identification number. Where counsel is
                 appearing pro hac vice, the signature block shall so indicate.

          v)     Sur-Replies. A party may not file a sur-reply without first obtaining leave
                 of the Court. Sur-replies will only be permitted upon a specific showing
                 of good cause.

          vi)    Supplemental Authorities. A party may bring supplemental authorities to
                 the Court’s attention without seeking prior leave of the Court but should
                 refrain from using the submission of supplemental authorities as an
                 opportunity to reargue issues or to respond to arguments made in an
                 opposing brief. Although the submission of supplemental authorities
                 should not be made by letter to the clerk, but rather in a pleading filed in
                 the usual manner, the parties are otherwise directed to follow the
                 procedures set forth in Federal Rule of Appellate Procedure 28(j).

 (b)      Duty to Confer on Nondispositive Motions. The Court will summarily deny
          motions that are subject to LCvR 7(m) but do not contain the requisite statement
          that the parties have conferred and whether the motion is opposed.

 (c)      Motions to Dismiss

          (i)    Federal Rule of Civil Procedure 15(a) allows a plaintiff to amend a
                 complaint, inter alia, within 21 days of the defendant’s service of a motion
                 to dismiss pursuant to Rule 12(b), (e) or (f). Such a responsive
                 amendment may avoid the need for the Court to decide the motion or may
                 reduce the number of issues to be decided. Plaintiffs therefore are directed
                 to carefully consider arguments made in a motion to dismiss and to correct
                 defects through an amended complaint, as appropriate.

          ii)    The parties are reminded that a motion to dismiss under Rule 12(b)(6) or a
                 motion for judgment on the pleadings under Rule 12(c) presenting matters
                 outside the pleadings will be converted to a motion for summary judgment
                 if the Court does not exclude those matters. Fed. R. Civ. P. 12(d). If such
                 a motion presents matters outside the pleadings, all parties must comply
                 fully will the instructions set forth below regarding motions for summary
                 judgment.

(d)     Pre-Motion Conference. If a party wishes to move for summary judgment, it must
        request that the Court schedule a pre-motion conference. To so request, the moving
        party shall submit a short notice via ECF, not to exceed six double-spaced pages in
        length, setting forth the basis for the anticipated motion, including the legal
        standards and the claims at issue. Other parties shall respond by filing, within one
        week, a document of similar length setting forth their anticipated responses to the


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      proposed motion. The Court will review and discuss with counsel any anticipated
      summary judgment motions at the pre-motion conference. This requirement shall
      not apply to incarcerated pro se litigants.

(e)    Motions for Summary Judgment—Cases Involving Judicial Review of Agency
       Action

       i)     In accordance with Local Civil Rule 7(h)(2), each motion for summary
              judgment, and opposition thereto, shall include a statement of facts with
              references to the administrative record. The parties must furnish precise
              citations to the portions of the administrative record on which they rely;
              the Court need not consider materials not specifically identified. See Fed.
              R. Civ.. P. 56(c)(3).

       ii)    In accordance with Local Civil Rule 7(n), the parties shall provide the
              Court with a joint appendix containing copies of those portions of the
              administrative record that are cited or otherwise relied upon in any
              memorandum in support of, or in opposition to, a motion for summary
              judgment. If the joint appendix exceeds 100 pages, the parties shall
              provide two printed courtesy copies to chambers, as described above.

(f)    Motions for Summary Judgment—All Other Cases

       i)     Every motion for summary judgment and opposition to such motion must
              comply with LCvR 7(h), which requires that each party submitting a
              motion for summary judgment attach a statement of material facts for
              which that party contends there is no genuine dispute, with specific
              citations to those portions of the record upon which the party relies in
              fashioning the statement. The party opposing the motion must, in turn,
              submit a statement enumerating all material facts that the party
              contends are genuinely disputed and thus require trial. LCvR 7(h)(1).
              The parties are strongly encouraged to review Jackson v. Finnegan,
              Henderson, Farabow, Garrett & Dunner, 101 F.3d 145 (D.C. Cir. 1996),
              on the subject of LCvR 7(h).

       ii)    The moving party’s statement of material facts shall be a short and concise
              statement, in numbered paragraphs, of all material facts as to which the
              moving party claims there is no genuine dispute. The statement must
              contain only one factual assertion in each numbered paragraph, and
              each factual assertion must include a precise citation to the relevant
              portion of the record.

       iii)   The party responding to a statement of material facts must (1) restate the
              movant’s statement of undisputed material fact in numbered paragraphs,
              and (2) immediately following each numbered paragraph state the
              opponent’s response to the stated fact. If a paragraph is admitted only in




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             part, the party must specifically identify which parts are admitted and
             which part are denied.

      iv)    If the responding party has additional facts that are not directly relevant to
             its response to any specific paragraph, it must identify such facts in
             consecutively numbered paragraphs at the end of its responsive statement
             of facts. If such additional factual allegations are made, the movant
             must file a responsive statement of its own with its reply brief.

      v)     If an opposition fails to include a separate concise statement of genuine
             disputed issues, or a response to the movant’s statement of facts, or
             specific references to the parts of the record relied upon to support the
             statement or response, the Court may treat as conceded any facts
             asserted in the movant’s statement of facts.

      vi)    The parties must furnish precise citations to the portions of the record on
             which they rely; the Court need not consider materials not specifically
             identified. Fed. R. Civ. P. 56(c)(1)(A), (c)(3).

(g)   Motions for Reconsideration. Motions for reconsideration of prior rulings are
      discouraged. Such motions shall be filed only when the requirements of Fed. R.
      Civ. P. 54(b), 59(e), and/or 60(b) are met. Any such motion shall not exceed ten
      (10) pages in length. Moreover, the Court will not entertain (a) motions that
      simply reassert arguments the party previously raised and the Court rejected, or
      (b) arguments that a party could have raised previously but now raises for the first
      time.

(h)   Stipulations and Joint Motions for Protective Orders.

      i)     If the parties desire for this Court to sign any stipulation or enter an order
             approving it, they must file a motion making that request. The motion
             must explain why cause exists for the Court to approve the stipulation, and
             the parties must submit the text of the proposed stipulation as an
             attachment to the motion.

      ii)    Joint motions to approve stipulated protective orders must contain a
             statement of good cause. See Fed. R. Civ. P. 26(c); Klayman v. Judicial
             Watch, Inc., 247 F.R.D. 19, 23 (D.D.C. 2007).

(i)   Motions for Extension of Time and Rescheduling of Hearings

      i)     Motion Required. Motions for extensions of time or to reschedule court
             hearings are strongly discouraged. Counsel and parties should work
             within the time frames set by the Scheduling Order. Extensions or
             enlargements of time will be granted only upon motion, and not upon
             stipulation by the parties.




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      ii)    Timing and Content. When good cause is shown, the Court will consider
             a motion for time extension or continuance of a proceeding that is filed at
             least 3 business days prior to the deadline and states:

             A. the original date of the deadline the motion is seeking to extend or the
                date of the scheduled hearing the motion is seeking to continue;
             B. the number of previous extensions of time or continuances granted to
                each party;
             C. the good cause supporting the motion, including specific grounds for
                the request;
             D. the effect, if any, that the granting of the motion will have on existing
                deadlines;
             E. a proposed schedule for any other affected deadlines, to be proposed
                only after consulting with opposing counsel;
             F. for motions, suggested deadlines (reached in consultation with the
                opposing party) for the filing of any opposition and reply papers; for
                continuances, three alternative dates and times that are convenient to
                all parties; and
             G. the opposing party’s position on the motion, including any reasons
                given for refusing to consent, see LCvR 7(m).

      iii)   Opposition. A party opposing a motion for an extension of time or
             continuance of a scheduled hearing date must file, by 5:00 PM of the
             business day after the motion is filed, the party’s reasons for opposing
             the motion. If no such explanation is provided to the Court within this
             time frame, the motion shall be deemed conceded. Informing the
             opposing party that the motion for an extension or continuance is opposed
             does not constitute an explanation to the Court.

      iv)    Untimely motions. Untimely motions for an extension must contain an
             explanation for the failure to comply with the three-day rule.

(j)   Citation

      Parties shall cite the U.S. Code rather than solely to a separately enumerated
      statute (e.g., “8 U.S.C. § 1182” or “8 U.S.C. § 1182, INA § 212” rather than “INA
      § 212”). Parties citing to unpublished cases or other materials available only on
      fee-based databases shall cite to Westlaw, not Lexis, wherever possible. In cases
      involving pro se litigants, counsel shall, when serving a memorandum of law (or
      other submission to the Court), provide the pro se litigant with copies of cases or
      other authorities cited therein that are unpublished or reported exclusively on
      computerized databases.

      All record citations, including to briefs, shall be to the page number of the PDF
      file that contains the cited material, not to any internal pagination within the
      document. For previously filed materials, the parties must cite to the ECF-



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             generated page numbers at the top of the documents (e.g., Dkt. 50 at 5). For
             contemporaneously filed materials, each exhibit shall be filed as a separate exhibit
             on ECF and the parties shall cite to the page number of the relevant PDF file (e.g.,
             Ex. B at 5). If the document is organized by sections or numbered paragraphs, the
             parties shall provide the section or paragraph in a separate parenthetical (e.g., Dkt.
             1 at 2 (Compl. ¶ 25)). Absent leave of the Court, parties must file the entire
             exhibit on which they rely, not merely the portions the party deems relevant.


9.    ALTERNATIVE DISPUTE RESOLUTION

      Submission to alternative dispute resolution, e.g., mediation or neutral evaluation, is
      encouraged and available upon request to the Court at any time. This includes a referral
      to the Circuit Executive’s Office or to a Magistrate Judge. The parties shall only request
      mediation, neutral evaluation, or referral to the Circuit Executive’s Office or to a
      Magistrate Judge if all parties agree to such an assignment.

10.   SETTLEMENT

      If the case settles in whole or in part, Plaintiff shall promptly notify the Court of the
      settlement.

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